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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 D. G. Sweigert                                         PRO SE
 Plaintiff,
                                                  23-cv-05875-JGK-VF
                  -against-
                                            Assigned to: Judge John G. Koeltl
 Jason Goodman,
 Defendant                                   Referred to: Magistrate Judge
                                                   Valerie Figueredo

                                          Related Case: 23-cv-06881-JGK-VF



            PLAINTIFF’S NOTICE OF WITHDRAWAL OF MOTION NO. 96




MAY IT PLEASE THE COURT, by the Court’s leave, Plaintiff hereby withdraws the motion

papers at ECF no. 96.


This is a sworn pleading.


December 27, 2023 (12/27/2023)



                                           D. G. SWEIGERT PRO SE PLAINTIFF, C/O
                                                      PMB 13339, 514 Americas Way,
                                                               Box Elder, SD 57719
     Case 1:23-cv-05875-JGK-VF          Document 99       Filed 12/26/23     Page 2 of 2




                                 CERTIFICATE OF SERVICE

It is hereby certified under the penalties of perjury that a true copy of this pleading has

been sent to:



YouTuber Jason Goodman, sole stockholder of MULTIMEDIA SYSTEM DESIGN, INC.,

served via U.S. Postal Mail addressed to Jason Goodman, 252 7th Avenue, New York, New York

10001



Certified under penalties of perjury.

December 27, 2023



                                               D. G. SWEIGERT PRO SE PLAINTIFF, C/O
                                                          PMB 13339, 514 Americas Way,
                                                                   Box Elder, SD 57719
